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                        THE UNITED STATES DISTRICT COURT
                               DISTRICT OF OREGON


 NO MORE FREEWAYS, et al.,                         Case No.: 3:21-CV-00498-YY

                       Plaintiffs,

          v.

 UNITED STATES DEPARTMENT OF
 TRANSPORTATION, et al.,

                       Defendants,                 DEFENDANTS’ JOINT PROPOSED
                                                   SCHEDULE
           and

 STATE OF OREGON, DEPARTMENT OF
 TRANSPORTATION,

                       Intervenor-Defendant.


       Defendants United States Department of Transportation, United States Federal Highway

Administration, and Thomas D. Everett, and Intervenor-Defendant State of Oregon, Department

of Transportation (collectively, “Defendants”), jointly propose the schedule and page limits for

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this action set forth below.

       Pursuant to the Court’s June 16, 2021 Order, Defendants conferred with Plaintiffs by

sending them on July 16, 2021 a proposed joint schedule. Plaintiffs sent a counter-proposed

schedule on July 19, 2021. Defendants were not given an opportunity to respond before Plaintiffs

emailed their counter proposal to the Court. Accordingly, Defendants submit this separate

proposed schedule for the Court’s consideration.

       Defendants propose that they share the administrative record with Plaintiffs prior to filing

it with the Court. It is Defendants’ intention that, should there be any disputes as to the record’s

contents, the parties can resolve their dispute without the need for Court intervention. To that end,

Defendants propose the following schedule for the sharing of the administrative record:

              Defendants provide Plaintiffs with the administrative record: December 6, 2021;

              Plaintiffs raise any concerns with the record to Defendants via letter or email:

               December 20, 2021;

              Deadline for parties to attempt to resolve disputes relating to the record: February

               7, 2022; and

              Defendants file the administrative record with the Court: February 14, 2022.

       Although it is Defendants’ hope that motion practice relating to the record can be avoided,

should it be necessary, Defendants propose the following schedule:

              Date by which Plaintiffs must file their motion: February 15, 2022;

              Defendants’ opposition to Plaintiffs’ motion: March 1, 2022; and

              Revised record (if any) to be filed with the Court by: Two weeks after Court enters

               its order resolving any disputes.

       Defendants propose that this case be resolved via sequential cross-motions for summary


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judgment pursuant to the following schedule:

                 Plaintiffs’ cross-motion for summary judgment: Sixty days after the final

                  administrative record is filed with the Court;

                 Defendants’ cross-motions for summary judgment and opposition to Plaintiffs’

                  cross-motion: Sixty days after Plaintiffs file their motion;

                 Plaintiffs’ opposition to Defendants’ cross-motions and reply in support of their

                  motion: Thirty days after Defendants file their motion; and

                 Defendants’ reply in support of their cross-motions: Thirty days after Plaintiffs file

                  their opposition.

        Finally, Defendants propose the following page limits for the summary judgment briefing

in this matter:

                 Plaintiffs’ cross-motion: 35 pages

                 Defendants’ cross-motions and opposition: 50 pages for federal Defendants and 50

                  pages for Intervenor-Defendant

                 Plaintiffs’ reply and opposition: 50 pages

                 Defendants’ replies: 25 pages for federal Defendants and 25 pages for Intervenor-

                  Defendant.

        DATED this 19th day of July, 2021.




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Respectfully submitted,

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